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                       EXHIBIT “A”
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    From:                       Bolger, Kate
    To:                         Brian Rodier
    Cc:                         Edison, Eric; Holoszyc-Pimentel, Raphael; Edison, Eric; LeMieux, George
    Subject:                    Dershowitz - motion to unseal the May 6 transcript
    Date:                       Wednesday, June 8, 2022 9:18:19 AM


    Brian
    This morning, CNN is planning to make an application to Magistrate Judge Valle to unseal the May 6
    transcript, during which, to the best of my memory, the Court confirmed that our objections to her
    order were due on May 9 (two weeks from the mediation).   We are requesting that the transcript
    be unsealed so the parties can review it and then that CNN file a redacted copy on the public docket
    within 5 days.

    Do you consent? Please let me know as soon as possible this morning.
    Thanks
    Kate Bolger

    Katherine M. Bolger | Davis Wright Tremaine LLP
    1251 Avenue of the Americas, 21st Floor | New York, NY 10020
    Tel: (212) 402-4068 | Fax: (212) 489-8340
    Email: katebolger@dwt.com | Website: www.dwt.com

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